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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
XAVIERA MARBURY, individually and on                           :
behalf of others similarly situated,                           :
                                                               :
                                             Plaintiff,        :   Case No. 1:20-cv-3210
                                                               :
                  -against-                                    :   CLASS ACTION COMPLAINT
                                                               :   (JURY TRIAL DEMANDED)
PACE UNIVERSITY,                                               :
                                                               :
                                             Defendant.        :
                                                               :
---------------------------------------------------------------x

        Plaintiff Xaviera Marbury (“Plaintiff”) by and through undersigned counsel, brings this

action against Pace University (“Defendant” or the “University”) on behalf of herself and all

others similarly situated, and makes the following allegations based upon information, attorney

investigation and belief, and upon Plaintiff’s own knowledge:

                                     PRELIMINARY STATEMENT

        1.       Plaintiff brings this case as a result of Defendant’s decision to close campus,

constructively evict students, and transition all classes to an online/remote format as a result of

the Novel Coronavirus Disease (“COVID-19”).

        2.       While closing campus and transitioning to online classes was the right thing for

Defendant to do, this decision deprived Plaintiff and the other members of the Class from

recognizing the benefits of in-person instruction, housing, meals, access to campus facilities,

student activities, and other benefits and services in exchange for which they had already paid

fees and tuition.

        3.       Defendant has either refused to provide reimbursement for the tuition, housing,

meals, fees and other costs that Defendant is no longer providing, or has provided inadequate
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and/or arbitrary reimbursement that does not fully compensate Plaintiff and members of the

Class for their loss.

         4.       This action seeks refunds of the amount Plaintiff and other members of the Class

are owed on a pro-rata basis, together with other damages as pled herein.

                                                     PARTIES

         5.       Defendant Pace University is an institution of higher learning located in New

York City, New York.

         6.       Upon information and belief, Defendant has an estimated endowment of

approximately $182 Million.1

         7.       Moreover, upon information and belief, Defendant may be eligible to receive

federal stimulus under the CARES Act. The CARES Act directs that approximately $14 billion

dollars be distributed to colleges and universities based upon enrollment and requires that

institutions must use at least half of the funds they receive to provide emergency financial aid

grants to students for expenses related to the disruption of campus operations due to COVID-19.

         8.       Plaintiff is an individual and a resident and citizen of the State of New York.

         9.       Plaintiff is currently enrolled as a full-time student in Defendant‘s undergraduate

program, studying business.

         10.      Plaintiff has paid substantial tuition for the Spring 2020 semester either out of

pocket or by utilizing student loan financing.

         11.      There are hundreds, if not thousands, of institutions of higher learning in this

country.

         12.      Some institutions of higher learning provide curriculum and instruction that is


1
  https://www.pace.edu/sites/default/files/files/finance-administration/financial-treasury-services/financial-
statements/financial-statements-2018.pdf

                                                           2
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offered on a remote basis through online programming which do not provide for physical

attendance by the students.

          13.      Defendant’s institution offers in-person, hands-on curriculum.

          14.      Plaintiff and members of the Proposed Tuition Class did not choose to attend

another institution of higher learning, or to seek an online degree, but instead chose to attend

Defendant’s institution and enroll on an in person basis.

          15.      Indeed, Defendant specifically markets the benefits of its on-campus learning

experience:2




2
    https://www.pace.edu/nyc

                                                   3
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       16.     As such, the higher tuition for in-person instruction at Defendant’s institution

necessarily covers not just the academic instruction, but encompasses an entirely different

experience which includes but is not limited to:

          i.   Face-to-face interaction with professors, mentors, and peers;

         ii.   Access to facilities such as computer labs, study rooms, laboratories, libraries,


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                  etc.;

           iii.   Student governance and student unions;

           iv.    Extra-curricular activities, groups, intramurals, etc.;

            v.    Student art, cultures, and other activities;

           vi.    Social development and independence;

          vii.    Hands-on learning and experimentation; and

          viii.   Networking and mentorship opportunities.

          17.     Plaintiff’s education has been changed from in-person, hands-on learning to

online instruction.

          18.     Plaintiff’s online instruction is not commensurate with the same classes being

taught in person, as she is missing out on the benefits and opportunities described above, among

others.

          19.     In addition to tuition, Plaintiff was required to pay certain mandatory fees,

including but not limited to:

            a.    General Fee;

            b.    Activity Fee;

            c.    Health Center Fee; and

            d.    Technology Fee.

          20.     According to Defendant, the General Fee is intended to cover “costs associated

with ancillary services provided to students which are not covered by tuition: advisement,

registration, tutoring and writing centers, library services, co-op and career services, inter-

campus transportation, safety and security, parking, and athletic activities.” 3


3
 https://pace.smartcatalogiq.com/en/2019-2020/Graduate-Catalog/General-University/Tuition-and-Fees/Special-
Course-Fees/

                                                      5
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          21.   Upon information and belief, the Activity Fee is intended to cover a range of

student activities including student government, student associations and clubs, intramurals, and

other similar experiential opportunities.

          22.   The Health Center Fee is intended to support costs for the “University Health

Care Unit” which gives students physical access to nurse practitioners and registered nurses who

are trained in diagnosing and treating illnesses, and prescribing medication. 4

          23.   The Technology Fee is intended to provide students “access to the latest

instructional technology resources available” such as computer labs and other on campus

technology.5

          24.   As a result of being restricted from campus, Plaintiff and members of the Fees

Class (as defined below in paragraph 53) no longer have the benefit of the services for which

these fees have been paid. For example, Plaintiff no longer has access to tutoring and writing

centers, libraries, the university healthcare unit, or campus computer labs; no longer requires

transportation, safety, security, or parking benefits; and no longer has the ability to participate in

athletic activities or student activities.

          25.   In addition to the tuition and fees described above, Plaintiff paid “Room and

Board” fees to reside in campus housing and for a meal plan providing for on campus dining.

          26.   At Defendant’s request and direction, Plaintiff moved out of on-campus housing

on March 11, 2020 and has not lived on campus since, nor had access to any meals under her

meal plan since that date.

                                   JURISDICTION AND VENUE

          27.   This Court has jurisdiction over this action pursuant to the Class Action Fairness


4
    Id.
5
    Id.

                                                  6
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Act (“CAFA”), 28 U.S.C. § 1332(d), because at least one class member is of diverse citizenship

from one Defendant, there are more than 100 Class members, and the aggregate amount in

controversy exceeds $5 million, exclusive of interest and costs.

        28.      This Court has personal jurisdiction over Defendant because Defendant is

domiciled in New York and conducts business in New York.

        29.      Venue is proper in this District under 28 U.S.C. § 1391(b) because a substantial

part of the events or omissions giving rise to the claims occurred in this District, and because

Defendant is an educational institution domiciled and doing business in this District.

                                      FACTUAL ALLEGATIONS

        30.      Upon information and belief, Defendant’s Spring term began on or about January

27, 2020.6

        31.      Upon information and belief, Defendant’s Spring term was scheduled to conclude

on or about May 16, 2020.7

        32.      Accordingly, Defendant’s Spring semester was scheduled and contracted to

consist of approximately 110 days.

        33.      However, as a result of the COVID-19 pandemic, Defendant announced on March

10, 2020 that it was moving all classes online effective immediately. 8 The move to online

instruction was originally supposed to occur until March 29, 2020, but was extended to apply to

the remainder of the entire semester.9

        34.      Plaintiff left campus on or about March 11, 2020 for spring break, with plans to



6
  https://www.pace.edu/sites/default/files/files/OSA/academic-scheduling/academic-calendar-2019-2020.pdf
7
  Id.
8
  https://myemail.constantcontact.com/Coronavirus-Update--Remote-learning-starts-
tomorrow.html?soid=1103481471610&aid=TfKERJBMl_w
9
  https://myemail.constantcontact.com/Coronavirus-Update--Spring-Semester--Commencement--and-
More.html?soid=1103481471610&aid=UBum98S-Y2c

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return on or about March 22, 2020.

        35.      However, on March 18, 2020, Defendant issued another announcement

encouraging students to move out of their residence halls and return home, or to stay home if

such students had already left for spring break. 10

        36.      Plaintiff was not even permitted back on campus to move her belongings out of

her dorm room.

        37.      In this same announcement, Defendant insisted they were “analyzing options for

issuing refunds or credits where appropriate.” 11

        38.      Almost immediately, students began demanding refunds for the fees and charges

demanded in this action.

        39.      As early as April 1, 2020, the students at Defendant’s institution started the first

change.org petition. There are currently at least two such petitions on the change.org website

with nearly 2,000 signatures.12

        40.      Defendant has announced that it will issue on-campus housing refunds as follows:

$2,000 for students living on the New York campus and $1,600 for students living on the

Pleasantville campus and at Haub Law. 13

        41.      This planned refund is both completely arbitrary and wholly inadequate.

        42.      Upon information and belief, the average dorm rent for the New York campus is

$10,073 per semester and the average dorm rent for the Westchester Campus is $8,000 per

semester.14


10
   Id.
11
   Id.
12
   See, e.g., https://www.change.org/p/provost-at-pace-university-help-pace-students-to-get-the-refund-they-deserve;
https://www.change.org/p/pace-university-administration-pace-university-petition-covid-19-pandemic-fe4453c5-
18a3-4d82-b3de-38266119e9a6?source_location=topic_page
13
   https://www.pace.edu/coronavirus/faculty-staff-students/faq-students
14
   https://www.pace.edu/admissions-aid/undergraduate-admissions/freshman/cost-attendance

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         43.      Plaintiff’s rent for Beekman Dorm for the Spring 2020 semester was $9,380.

         44.      The housing cost refund offered by Defendant equates to a refund of roughly 20%

of the full cost that Plaintiff and members of the On-Campus Housing Class (as defined below in

paragraph 53) had already pre-paid.

         45.      This refund is arbitrary and inadequate given that Plaintiff and other members of

the On-Campus Housing Class have been and will be deprived of roughly 50% of the on-campus

housing time for which they have already bargained and paid.

         46.      Defendant offered no explanation for how they calculated this refund offer.

         47.      Defendant has refused, and continues to refuse, to offer any refund whatsoever on

its meal plans.

         48.      Although Defendant is still offering some level of academic instruction via online

classes, Plaintiffs and members of the proposed Tuition Class (as defined below in paragraph 53)

have been and will be deprived of the benefits of on campus learning as set forth more fully

above.

         49.      Moreover, the value of any degree issued on the basis of online or pass/fail

classes will be diminished for the rest of a recipient’s life.

         50.      However, Defendant has failed and continues to fail to offer any type of pro-rated

refund on tuition.

         51.      Moreover, Plaintiffs and members of the proposed Fees Class (as defined below

in paragraph 53) have been and will be deprived of utilizing services for which they have already

paid, such as access to campus facilities, activities, and other opportunities.

         52.      However, Defendant has failed and continues to fail to offer any type of pro-rated

refund on fees.



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                               CLASS ACTION ALLEGATIONS

       53.     Plaintiff brings this action on behalf of herself and as a class action, pursuant to

the provisions of Rule 23 of the Federal Rules of Civil Procedure on behalf of the following

Classes:

               The Tuition Class:

               All people who paid tuition for or on behalf of students enrolled in classes at the
               University for the Spring 2020 semester but were denied live in-person instruction
               and forced to use online distance learning platforms for the latter portion of that
               semester.

               The Fees Class:

               All people who paid fees for or on behalf of students enrolled in classes at the
               University for the Spring 2020 semester.

               The On-Campus Housing Class:

               All people who paid the costs of on-campus housing for or on behalf of students
               enrolled in classes at the University for the Spring 2020 semester who moved out
               of their on-campus housing prior to the completion of the semester because of
               Defendant’s policies and announcements related to COVID-19.

               The Meals Class:

               All people who paid costs for or on behalf of students for meals and on-campus
               dining at the University for the Spring 2020 semester.

       54.     Excluded from the Classes are The Board of Trustees of Pace University (or other

similar governing body) and any of their respective members, affiliates, parents, subsidiaries,

officers, directors, employees, successors, or assigns; and the judicial officers, and their

immediate family members, and Court staff assigned to this case. Plaintiffs reserve the right to

modify or amend the Class definitions, as appropriate, during the course of this litigation.

       55.     Certification of Plaintiff’s claims for class-wide treatment is appropriate because

Plaintiff can prove the elements of her claims on a class-wide basis using the same evidence as



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would be used to prove those elements in individual actions alleging the same claims.

       56.     This action has been brought and may be properly maintained on behalf of the

Class proposed herein under Federal Rule of Civil Procedure 23.

                              Numerosity: Fed. R. Civ. P. 23(a)(1)

       57.     The members of the Class are so numerous and geographically dispersed that

individual joinder of all Class members is impracticable. Plaintiff is informed and believes that

there are thousands of members of the Class, the precise number being unknown to Plaintiff, but

such number being ascertainable from Defendant’s records. Class members may be notified of

the pendency of this action by recognized, Court-approved notice dissemination methods, which

may include U.S. mail, electronic mail, internet postings, and/or published notice.

                  Commonality and Predominance: Fed. R. Civ. P. 23(a)(2)

       58.     This action involves common questions of law and fact, which predominate over

any questions affecting individual Class members, including, without limitation:

          i.   Whether Defendant engaged in the conduct alleged herein;

         ii.   Whether there is a difference in value between online distance learning and live

               in-person instruction;

        iii.   Whether Defendant breached its contracts with Plaintiff and the other members of

               the Tuition Class by retaining the portion of their tuition representing the

               difference between the value of online distance learning and live in-person

               instruction;

        iv.    Whether Defendant was unjustly enriched by retaining tuition payments of

               Plaintiff and the Tuition Class representing the difference between the value of

               online distance learning and live in-person instruction;



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  v.    Whether Defendant breached its contracts with Plaintiff and the other members of

        the Fees Class by retaining fees without providing the services the fees were

        intended to cover;

 vi.    Whether Defendant was unjustly enriched by retaining fees of Plaintiff and the

        other members of the Fees Class without providing the services the fees were

        intended to cover;

vii.    Whether Defendant breached its contracts with Plaintiff and the other members of

        the On-Campus Housing Class by not refunding them the full pro-rated amount of

        their housing expenses when the pandemic prevented them (or the students on

        whose behalf they paid) from continuing to live on campus safely;

viii.   Whether Defendant was unjustly enriched by retaining payments of Plaintiff and

        the other members of the On-Campus Housing Class while such members (or the

        students on whose behalf they paid) moved out of their on-campus housing;

 ix.    Whether Defendant breached its contracts with Plaintiff and the other members of

        the Meals Class by retaining costs for food and on-campus dining without

        providing those services which the costs were intended to cover;

  x.    Whether Defendant was unjustly enriched by retaining payments of Plaintiff and

        the other members of the Meals Class without providing the food and on-campus

        dining options which those costs were intended to cover;

 xi.    Whether certification of any or all of the classes proposed herein is appropriate

        under Fed. R. Civ. P. 23;

xii.    Whether Class members are entitled to declaratory, equitable, or injunctive relief,

        and/or other relief; and



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       xiii.   The amount and nature of relief to be awarded to Plaintiff and the other Class

               members.

                               Typicality: Fed. R. Civ. P. 23(a)(3)

       59.     Plaintiff’s claim is typical of the other Class member’s claims because, among

other things, all Class members were similarly situated and were comparably injured through

Defendant‘s wrongful conduct as set forth herein.

                               Adequacy: Fed. R. Civ. P. 23(a)(4)

       60.     Plaintiff is an adequate Class representative because her interests do not conflict

with the interests of other members of the Class she seeks to represent. Plaintiff has retained

counsel competent and experienced in complex litigation; and Plaintiff intends to prosecute the

action vigorously. The Class’s interests will be fairly and adequately protected by Plaintiff and

her counsel.

                              Superiority: Fed. R. Civ. P. 23(b)(3)

       61.     A class action is superior to any other available means for the fair and efficient

adjudication of this controversy, and no unusual difficulties are likely to be encountered in the

management of this class action. The damages or other financial detriment suffered by Plaintiff

and other Class members are relatively small compared to the burden and expense that would be

required to individually litigate their claims against Defendant, so it would be impracticable for

members of the Class to individually seek redress for Defendant’s wrongful conduct.

       62.     Even if Class members could afford individual litigation, the Court system likely

could not. Individualized litigation creates a potential for inconsistent or contradictory

judgments, and increases the delay and expense to all parties and the court system. By contrast,

the class action device presents far fewer management difficulties and provides the benefits of



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single adjudication, economy of scale, comprehensive supervision by a single court, and finality

of the litigation.

                      Certification of Specific Issues: Fed. R. Civ. P. 23(c)(4)

         63.    To the extent that a Class does not meet the requirements of Rules 23(b)(2) or

(b)(3), Plaintiff seeks the certification of issues that will drive the litigation toward resolution.

                     Declaratory and Injunctive Relief: Fed. R. Civ. P. 23(b)(2)

         64.    The University has acted or refused to act on grounds generally applicable to

Plaintiff and the other Class members, thereby making appropriate final injunctive relief and

declaratory relief, as described herein, with respect to the Class members as a whole.

                       FOR A FIRST COLLECTIVE CAUSE OF ACTION
                                     BREACH OF CONTRACT
                        (Plaintiff and Other Members of the Tuition Class)

         65.    Plaintiff realleges all preceding paragraphs as if fully set forth herein.

         66.    Plaintiff brings this count on behalf of herself and other members of the Tuition

Class.

         67.    Plaintiff and the Tuition Class entered into contracts with the University which

provided that Plaintiff and other members of the Tuition Class would pay tuition for or on behalf

of students and, in exchange, the University would provide live in-person instruction in a

physical classroom.

         68.    Plaintiff and other members of the Tuition Class fulfilled their end of the bargain

when they paid tuition for the Spring 2020 semester either out of pocket or by using student loan

financing.

         69.    The University breached the contract with Plaintiff and the Tuition Class by

moving all classes for the Spring 2020 semester to online distance learning platforms, without



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reducing or refunding tuition accordingly.

         70.   The University retained tuition monies paid by Plaintiff and other members of the

Tuition Class, without providing them the full benefit of their bargain.

         71.   Plaintiff and other members of the Tuition Class have suffered damage as a direct

and proximate result of Defendant’s breach, including, but not limited to, being deprived of the

value of the services the tuition was intended to cover, namely live in-person instruction in a

physical classroom.

         72.   As a direct and proximate result of Defendant’s breach, Plaintiff and the Tuition

Class are legally and equitably entitled to damages, to be decided by the trier of fact in this

action, to include, but not be limited to, disgorgement of the difference between the value of the

online learning which is being provided versus the value of the live in-person instruction in a

physical classroom that was contracted for.

                   FOR A SECOND COLLECTIVE CAUSE OF ACTION
                                  UNJUST ENRICHMENT
                     (Plaintiff and Other Members of the Tuition Class)

         73.   Plaintiff realleges all preceding paragraphs as if fully set forth herein.

         74.   Plaintiff brings this count on behalf of herself and other members of the Tuition

Class.

         75.   The University has received a benefit at the expense of Plaintiff and other

members of the Tuition Class to which it is not entitled.

         76.   Plaintiff and other members of the Tuition Class paid substantial tuition for live

in-person instruction in physical classrooms and did not receive the full benefit of the bargain.

         77.   Plaintiff and other members of the Tuition Class conferred this benefit on

Defendant when they paid the tuition.



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         78.     Defendant has realized this benefit by accepting such payment.

         79.     Defendant has retained this benefit, even though Defendant has failed to provide

the services for which the tuition was collected, making Defendant’s retention unjust under the

circumstances.

         80.     Equity and good conscience require that the University return a portion of the

monies paid in tuition to Plaintiff and other members of the Tuition Class.

         81.     Defendant should be required to disgorge this unjust enrichment.

                      FOR A THIRD COLLECTIVE CAUSE OF ACTION
                                   BREACH OF CONTRACT
                        (Plaintiff and Other Members of the Fees Class)

         82.     Plaintiff realleges all preceding paragraphs as if fully set forth herein.

         83.     Plaintiff brings this count on behalf of herself and other members of the Fees

Class.

         84.     Plaintiff and the Fees Class entered into contracts with the University which

provided that Plaintiff and other members of the Fees Class would pay certain fees for or on

behalf of students and, in exchange, the University would provide services related to those fees,

such as access to student activities, athletics, wellness centers, libraries, etc.

         85.     Plaintiff and other members of the Fees Class fulfilled their end of the bargain

when they paid these fees for the Spring 2020 semester either out of pocket or by using student

financing.

         86.     The University breached the contract with Plaintiff and the Fees Class by moving

all classes for the Spring 2020 semester to online distance learning platforms, constructively

evicting students from campus, and closing most campus buildings and facilities, without

reducing or refunding fees accordingly.



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         87.   The University retained fees paid by Plaintiff and other members of the Fees

Class, without providing them the full benefit of their bargain.

         88.   Plaintiff and other members of the Fees Class have suffered damage as a direct

and proximate result of Defendant’s breach, including, but not limited to, being deprived of the

value of the benefits and services the fees were intended to cover.

         89.   As a direct and proximate result of Defendant’s breach, Plaintiff and the Fees

Class are legally and equitably entitled to damages, to be decided by the trier of fact in this

action, to include, but not be limited to, disgorgement of the pro-rata amount of fees that was

collected but for which services were not provided.

                   FOR A FOURTH COLLECTIVE CAUSE OF ACTION
                                  UNJUST ENRICHMENT
                      (Plaintiff and Other Members of the Fees Class)

         90.   Plaintiff realleges all preceding paragraphs as if fully set forth herein.

         91.   Plaintiff brings this count on behalf of herself and other members of the Fees

Class.

         92.   The University has received a benefit at the expense of Plaintiff and other

members of the Fees Class to which it is not entitled.

         93.   Plaintiff and other members of the Fees Class paid substantial student fees for on-

campus benefits and services and did not receive the full benefit of the bargain.

         94.   Plaintiff and other members of the Fees Class conferred this benefit on Defendant

when they paid the fees.

         95.   Defendant has realized this benefit by accepting such payment.

         96.   Defendant has retained this benefit, even though Defendant has failed to provide

the services for which the fees were collected, making Defendant’s retention unjust under the



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circumstances.

       97.       Equity and good conscience require that the University return a pro-rata portion of

the monies paid in fees to Plaintiff and other members of the Fees Class.

       98.       Defendant should be required to disgorge this unjust enrichment.

                    FOR A FIFTH COLLECTIVE CAUSE OF ACTION
                                 BREACH OF CONTRACT
              (Plaintiff and Other Members of the On-Campus Housing Class)

       99.       Plaintiff realleges all preceding paragraphs as if fully set forth herein.

       100.      Plaintiff brings this count on behalf of herself and other members of the On-

Campus Housing Class.

       101.      Plaintiff and the On-Campus Housing Class entered into contracts with the

University which provided that Plaintiff and other members of the On-Campus Housing Class

would pay certain fees for or on behalf of students and, in exchange, the University would

provide on-campus housing to those students.

       102.      Plaintiff and other members of the On-Campus Housing Class fulfilled their end

of the bargain when they paid these fees for the Spring 2020 semester either out of pockett or by

using student financing.

       103.      The University breached the contract with Plaintiff and the On-Campus Housing

Class by moving all classes for the Spring 2020 semester to online distance learning platforms,

and asked students to move out of on-campus housing facilities, thus constructively evicting

them, without reducing or refunding fees accordingly.

       104.      The University retained fees paid by Plaintiff and other members of the On-

Campus Housing Class, without providing them the full benefit of their bargain.

       105.      Plaintiff and other members of the On-Campus Housing Class have suffered



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damage as a direct and proximate result of Defendant’s breach, including, but not limited to,

being deprived of the value of the housing that the room and board fees were intended to cover.

       106.    As a direct and proximate result of Defendant’s breach, Plaintiff and the On-

Campus Housing Class are legally and equitably entitled to damages, to be decided by the trier

of fact in this action, to include, but not be limited to, disgorgement of the pro-rata amount of

fees that were collected but for which services were not provided.

                    FOR A SIXTH COLLECTIVE CAUSE OF ACTION
                                 UNJUST ENRICHMENT
              (Plaintiff and Other Members of the On-Campus Housing Class)

       107.    Plaintiff realleges all preceding paragraphs as if fully set forth herein.

       108.    Plaintiff brings this count on behalf of herself and other members of the On-

Campus Housing Class.

       109.    The University has received a benefit at the expense of Plaintiff and other

members of the On-Campus Housing Class to which it is not entitled.

       110.    Plaintiff and other members of the On-Campus Housing Class paid substantial

room and board fees for the right to occupy on-campus housing and did not receive the full

benefit of the bargain.

       111.    Plaintiff and other members of the On-Campus Housing Class conferred this

benefit on Defendant when they paid the fees.

       112.    Defendant has realized this benefit by accepting such payment.

       113.    Defendant has retained this benefit, even though Defendant has failed to provide

the housing and other amenities for which the fees were collected, making Defendant’s retention

unjust under the circumstances.

       114.    Equity and good conscience require that the University return a pro-rata portion of



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the monies paid in fees to Plaintiff and other members of the On-Campus Housing Class.

         115.   Defendant should be required to disgorge this unjust enrichment.

                   FOR A SEVENTH COLLECTIVE CAUSE OF ACTION
                                 BREACH OF CONTRACT
                     (Plaintiff and Other Members of the Meals Class)

         116.   Plaintiff realleges all preceding paragraphs as if fully set forth herein.

         117.   Plaintiff brings this count on behalf of herself and other members of the Meals

Class.

         118.   Plaintiff and the Meals Class entered into contracts with the University which

provided that Plaintiff and other members of the Meals Class would pay certain fees for or on

behalf of students and, in exchange, the University would provide meals and on-campus dining

options.

         119.   Plaintiff and other members of the Meals Class fulfilled their end of the bargain

when they paid these fees for the Spring 2020 semester either out of pocket or by using student

financing.

         120.   The University breached the contract with Plaintiff and the Meals Class by

moving all classes for the Spring 2020 semester to online distance learning platforms,

constructively evicting students from campus, and closing most campus buildings and facilities,

including dining facilities, without reducing or refunding these fees accordingly.

         121.   The University retained fees paid by Plaintiff and other members of the Meals

Class, without providing them the full benefit of their bargain.

         122.   Plaintiff and other members of the Meals Class have suffered damage as a direct

and proximate result of Defendant’s breach, including but not limited to being deprived of the

value of the benefits and services the fees were intended to cover.



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         123.   As a direct and proximate result of Defendant’s breach, Plaintiff and the Meals

Class are legally and equitably entitled to damages, to be decided by the trier of fact in this

action, to include but not be limited to disgorgement of the pro-rata amount of fees that was

collected but for which meals and services were not provided.

                   FOR AN EIGHTH COLLECTIVE CAUSE OF ACTION
                                  UNJUST ENRICHMENT
                     (Plaintiff and Other Members of the Meals Class)

         124.   Plaintiff realleges all preceding paragraphs as if fully set forth herein.

         125.   Plaintiff brings this count on behalf of herself and other members of the Meals

Class.

         126.   The University has received a benefit at the expense of Plaintiff and other

members of the Meals Class to which it is not entitled.

         127.   Plaintiff and other members of the Meals Class paid fees for access to on-campus

meals and dining options.

         128.   Plaintiff and other members of the Meals Class conferred this benefit on

Defendant when they paid the fees.

         129.   Defendant has realized this benefit by accepting such payment.

         130.   Defendant has retained this benefit, even though Defendant has failed to provide

the meals and services for which the fees were collected, making Defendant’s retention unjust

under the circumstances.

         131.   Equity and good conscience requires that the University return a pro-rata portion

of the monies paid in meal fees to Plaintiff and other members of the Meals Class.

         132.   Defendant should be required to disgorge this unjust enrichment.




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                                        PRAYER FOR RELIEF

          WHEREFORE, Plaintiff, individually and on behalf of members of the Classes,

respectfully requests judgment in its favor and against Defendant as follows:

          a.       Certifying the Classes as proposed herein, designating Plaintiff as Class

representative, and appointing undersigned counsel as Class Counsel;

          b.       Declaring that Defendant is financially responsible for notifying the Class

members of the pendency of this action;

          c.       Declaring that Defendant has wrongfully kept monies paid for tuition, fees, on-

campus housing, and meals;

          d.       Requiring that Defendant disgorge amounts wrongfully obtained for tuition, fees,

on-campus housing, and meals;

          e.       Awarding injunctive relief as permitted by law or equity, including enjoining

Defendant from retaining the pro-rated, unused monies paid for tuition, fees, on-campus housing,

and meals;

          f.       Scheduling a trial by jury in this action;

          g.       Awarding Plaintiff’s reasonable attorney’s fees, costs and expenses, as permitted

by law;

          h.        Awarding pre and post-judgment interest on any amounts awarded, as permitted

by law; and

          i.       Awarding such other and further relief as may be just and proper.

                                     DEMAND FOR JURY TRIAL

          Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff demands trial by

jury in this action of all issues so triable.



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Dated: April 22, 2020

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